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         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 18-1409V
                                       Filed: July 30, 2019
                                         UNPUBLISHED


    MOHAMED MOHAMED, Administrator
    of the ESTATE OF SALAH HAMAD
                                                              Special Processing Unit (SPU);
                         Petitioner,                          Ruling on Entitlement; Concession;
    v.                                                        Table Injury; Influenza (Flu) Vaccine;
                                                              Guillain-Barre Syndrome (GBS)
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                        Respondent.


Clifford John Shoemaker, Shoemaker, Gentry, & Knickelbein, Vienna, VA, for petitioner.
Darryl R. Wishard, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

       On September 14, 2018, petitioner, as administrator for the estate of his father,
Salah Hamad, filed a petition for compensation under the National Vaccine Injury
Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine Act”). Petitioner
alleges that his father suffered Guillain-Barré Syndrome (GBS) after receiving an
influenza vaccination on December 23, 2017, which resulted in his death on April 17,
2018. Petition at ¶¶ 2, 8. The case was assigned to the Special Processing Unit of the
Office of Special Masters.
1The undersigned intends to post this ruling on the United States Court of Federal Claims' website. This
means the ruling will be available to anyone with access to the internet. In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such material from
public access. Because this unpublished ruling contains a reasoned explanation for the action in this
case, undersigned is required to post it on the United States Court of Federal Claims' website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management
and Promotion of Electronic Government Services).

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        On July 19, 2019, respondent filed his Rule 4(c) report in which he concedes that
petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1-
2. Specifically, respondent indicates “[i]t is [his] position that petitioner has satisfied the
criteria set forth in the recently revised Vaccine Injury Table (“Table”) and Qualifications
and Aids to Interpretation (“QAI”), which afford petitioner a presumption of causation if
onset of GBS occurs between three and forty-two days after a seasonal flu vaccination
and there is no apparent alternative cause.” Id. at 3.

     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                    s/Nora Beth Dorsey
                                    Nora Beth Dorsey
                                    Chief Special Master




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